     Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 1 of 9 PAGEID #: 1



                     UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

BARBARA HENSLEY,                         :   Case No. ________________________
                                         :
              Plaintiff                  :   Judge __________________________
                                         :
v.                                       :
                                         :   NOTICE OF REMOVAL
WEST CHSTER HOSPITAL, LLC,               :
et al.                                   :
                                         :
              Defendants.                :
                                         :
                                         :
   ___________________________________________________________________________
       Defendants West Chester Hospital, LLC, and UC Health (collectively, “Defendants”)

hereby remove to this Court the state court action described below. Removal is warranted under

28 U.S.C. § 1332(d)(11). In support of removal, Defendants state as follows:

                                       BACKGROUND

       On June 22, 2015, Plaintiff commenced this action by filing a complaint in the Court of

Common Pleas of Hamilton County, in the State of Ohio, bearing case number A1503355

(“Complaint”) (attached hereto as Exhibit A). Plaintiff alleges Defendants committed fraud as a

result of an alleged unnecessary surgery that was performed by Dr. Abubakar Atiq Durrani (“Dr.

Durrani”). ¶¶ 1835-1854.

       This case is one of hundreds of nearly identical suits against the Defendants involving

alleged unnecessary surgeries performed by Dr. Durrani. Some of these cases were filed in

Hamilton County, and some were originally filed in Butler County. All but roughly 40 of the

Butler County cases have been dismissed and some of them have been re-filed in Hamilton

County. Each of these re-filed cases has been assigned to Hamilton County Common Pleas Judge

Robert Ruehlman. On December 7, 2015, in preparation for a December 14 case management


                                                1
         Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 2 of 9 PAGEID #: 2



conference regarding all of the Hamilton County cases (including those re-filed after being

dismissed in Butler County) involving alleged unnecessary surgeries by Dr. Durrani, Plaintiffs’

counsel submitted to Judge Ruehlman a lengthy “binder,” which included, among other things, a

number of motions, descriptions of Plaintiffs’ counsel’s positions on various pre-trial issues, and

lists of cases currently pending or which were to be filed. See Plaintiffs’ Binder for December

14, 2015 Case Management Conference (“Binder”) (attached hereto as Exhibit B. In all,

Plaintiffs’ counsel claimed to represent Plaintiffs in some 520 individual cases as part of this

litigation, including 172 already filed in Hamilton County, 258 that Plaintiffs’ counsel planned to

dismiss in Butler County and re-file in Hamilton County, and 40 more Butler County cases that

were the subject of a pending motion to transfer to Hamilton County as of December 7.1 Id., pp.

8, 19-29, 209-23, 226-235.

           In the Binder, Plaintiffs unambiguously requested that Judge Ruehlman set “ALL” of

these cases for one single, combined trial or, at a minimum, several smaller group trials. See,

e.g., Binder, p. 179-80 (listing “[o]ne scheduled trial for ALL cases [to begin] August 1, 2016”

as Plaintiffs’ top choice in a list of their “Preferences in Order of Preference for Trial Settings”);

id., p. 180 (listing “Group Trials with Many Options” as Plaintiffs’ second choice); id., p. 126

(stating that “[t]he Court has many options [for setting trial dates, including] [s]chedul[ing] one

trial. . . . [or] [s]et[ting] trials by groups . . . .”); id., pp. 153-177 (attaching and citing Suida v.

Howard, Nos. C-000656, C-000687, 2002 WL 946188 (Ohio Ct. App. May 10, 2002) for the

proposition that “group trials [are] allowed]”).

           Although Judge Ruehlman did not grant Plaintiffs’ request for a single trial, in a

December 15, 2015 order, the court scheduled several trials involving all “Dr. Durrani” cases as


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    This motion was later denied. Plaintiffs have filed a motion for reconsideration in each of those cases.

                                                             2
     Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 3 of 9 PAGEID #: 3



follows:

              1) February 29, 2016: trial in Mike & Amber Sand v. Abubakar Atiq Durrani, et
              al., Hamilton County Common Pleas Case No. A 1506694;

              2) March 14, 2016: trial in Steven Andrew Schultz v. Abubakar Atiq Durrani, et
              al., Hamilton County Common Pleas Case No. A 1506861;

              3) May 2, 2016: trial in 14 cases involving Cincinnati Children’s Hospital
              Medical Center;

              4) August 1, 2016: trial in 24 cases involving “West Chester/UC Health and any
              hospital named as a Defendant in the C1C2/False Pannus cases”;

              5) January 2, 2017: a “massive group trial” in “all remaining Dr. Durrani cases,”
              which “could take six months to a year.”

General Order on all Dr. Durrani Hamilton County Cases for Case Management Conference

December 14, 2015, Hamilton County Common Pleas Case No. A1506577 (“General Order”)

(attached hereto as Exhibit C), pp. 11-15.

       By proposing a joint trial of the claims of over 100 plaintiffs, Plaintiffs created a “mass

action,” as defined in 28 U.S.C. § 1332(d)(11), making this case (and the hundreds of others

covered by the proposal) removable.

              THIS CASE IS REMOVABLE AS PART OF A MASS ACTION

       This case is removable as part of a mass action, pursuant to the mass action provisions of

the diversity jurisdiction statute, 28 U.S.C. § 1332(d)(11). A removable mass action meets the

following requirements:


           a. It involves the monetary relief claims of 100 or more persons that are proposed to

              be tried jointly on the ground that the plaintiffs’ claims involve common questions

              of law or fact, see id. § 1332(d)(11)(B)(i);

           b. The aggregate amount in controversy exceeds $5,000,000 and the claims of the

              individual plaintiffs exceed $75,000, see id. §§ 1332(a), (d)(2), (d)(11)(B)(i); and


                                                 3
      Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 4 of 9 PAGEID #: 4




           c. Any plaintiff is a citizen of a State different from any defendant, see id. §

               1332(d)(2)(A).

These requirements are satisfied here.
A.     The Plaintiffs’ Binder in the Hamilton County Action Proposed a Joint Trial of the
       Claims of 100 or More Persons
       This case is removable as part of a mass action. In the Binder submitted to Judge

Ruehlman, Plaintiffs’ counsel explicitly proposed that all “Dr. Durrani” cases be tried jointly

with hundreds of other cases. See 28 U.S.C. § 1332(d)(11)(B)(i); Binder, pp. 126, 153-177, 179-

80. Plaintiffs’ counsel based this request on its belief that these cases involve common questions
of law or fact. See 28 U.S.C. § 1332(d)(11)(B)(i); Binder, p. 179-80 (listing factors that all of the

cases proposed to be tried jointly “have in common”); id., p. 186 (“The claims against the

hospital Defendants are the same in each case. It’s silly to try the same fact issue against the

hospital to 500 juries.”); id., p. 187 (listing factors “common to all cases”). Thus, the first mass

action requirement is satisfied.

       This element is met even though this case has just one plaintiff (indeed, most of the cases

that were proposed to be tried jointly have just one plaintiff). The Sixth Circuit has not addressed

this issue. However, the Seventh, Eighth, and Ninth Circuits have explicitly approved mass

action removal of individual actions where each includes fewer than 100 plaintiffs, but the

actions are proposed to be tried jointly and, combined, involve at least 100 plaintiffs. See In re
Abbott Labs., Inc., 698 F.3d 568, 570-71 (7th Cir. 2012) (removal proper in mass action

consisting of ten cases with fewer than 100 plaintiffs each, where, combined, the cases involved

several hundred plaintiffs); Atwell v. Boston Scientific Corp., 740 F.3d 1160, 1161-62 (8th Cir.

2013) (removal proper in mass action consisting of three suits, each involving fewer than 100

plaintiffs, even though each case involved fewer than 100 plaintiffs); Corber v. Xanodyne

Pharm., Inc., 771 F.3d 1218, 1220 (9th Cir. 2014) (removal proper in mass action consisting of

several cases, each of which had fewer than 100 plaintiffs but had “far more than 100 plaintiffs

when considered together”).


                                                  4
      Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 5 of 9 PAGEID #: 5




        Further, removal is proper over all cases that Plaintiffs proposed be tried jointly,

including those that are not part of the “massive group trial” set for January 2, 2017. The relevant

inquiry is whether Plaintiffs proposed a joint trial of the claims of 100 or more plaintiffs, not

whether the claims of 100 or more plaintiffs are actually adjudicated together in a single trial. As

the Seventh Circuit has noted:

                A proposal to hold multiple trials in a single suit (say, 72 plaintiffs
                at a time, or just one trial with 10 plaintiffs and the use of
                preclusion to cover everyone else) does not take the suit outside §
                1332(d)(11). Recall the language of § 1332(d)(11)(B)(i): any “civil
                action . . . in which monetary relief claims of 100 or more persons
                are proposed to be tried jointly” is treated as a “class action”. . . .
                The question is not whether 100 or more plaintiffs answer a roll
                call in court, but whether the “claims” advanced by 100 or more
                persons are proposed to be tried jointly.
Bullard v. Burlington N. Santa Fe Ry. Co., 535 F.3d 759, 762 (7th Cir. 2008) (emphasis added);

see also Atwell, 740 F.3d at 1163 (approving of Bullard and noting that “construing the statute to

require a single trial of more than 100 claims would render 28 U.S.C. § 1332(d)(11) ‘defunct’”);

In re Abbott, 698 F.3d at 573 (“[I]t does not matter whether a trial covering 100 or more

plaintiffs actually ensues; the statutory question is whether one has been proposed.’” (quoting

Bullard, 535 F.3d at 762)). Thus, the fact that that Judge Ruehlman scheduled two individual

trials as well as two group trials for 14 and 24 plaintiffs is irrelevant. Plaintiffs’ proposal,

standing alone, satisfies the first requirement of mass action removal as to each and every case

included in that proposal.


B.      The Amount in Controversy Is Satisfied

Both the individual $75,000 and aggregate $5,000,000 amount in controversy requirements for

mass action removal are satisfied. See 28 U.S.C. §§ 1332(a), (d)(2), (d)(11)(B)(i). It is apparent

from the face of Plaintiff’s Complaint and the serious nature of the “catastrophic injuries”

alleged by Plaintiff, see Compl. Prayer for Relief, that the amount in controversy exceeds



                                                   5
      Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 6 of 9 PAGEID #: 6



$75,000 for Plaintiff, individually. Where, as here, plaintiffs allege serious bodily injuries,

courts have readily found that the amount-in-controversy requirement is satisfied. See In re

Rezulin Prods. Liab. Litig., 133 F. Supp. 2d 272, 296 (S.D.N.Y. 2001); see, e.g., Smith v. Wyeth,

Inc., 488 F. Supp. 2d 625, 630-31 (W.D. Ky. 2007); accord Copley v. Wyeth, Inc., No. 09-722,

2009 WL 1089663, at *2 (E.D. Pa. Apr. 22, 2009). This is especially true, where, as here, there

is a demand for punitive damages. See Compl. p. 174; Pierce v. Durrani, Judgment Entry,

Hamilton Cty., Ohio Common Pleas Case No. A1200265 (Feb. 19, 2014) (companion case

involving only Defendants, Abubakar Durrani, M.D. and CAST) (attached hereto as Exhibit D).

Smith v. Nationwide Property and Cas. Ins. Co., 505 F.3d 401, 408 (6th Cir. 2007) (“As a

general rule, [amount-in-controversy] analysis must also take into account the ability of

[plaintiffs] to recover punitive damages, unless it is apparent to a legal certainty that such cannot

be recovered.”). Because Plaintiff’s claim exceeds $75,000, the aggregate amount in controversy,

which embraces the claims of the more than 500 individuals who proposed to have their claims

tried jointly (and whose claims also exceed $75,000 each), easily exceeds $5,000,000.

Accordingly, the amount-in-controversy requirement is satisfied.


C.     The Diversity Requirement Is Satisfied

       The diversity requirement for mass action removal is also met. See 28 U.S.C. §

1332(d)(2)(A), (d)(11)(A). For removal of a mass action, only “minimal diversity” is required,

i.e., at least one plaintiff must be diverse from one defendant. See id. Here, at least one

Defendant, West Chester Hospital, is a citizen of Ohio for purposes of diversity, and at least one

Plaintiff, Steven Andrew Schultz, is a citizen of Indiana. See Schultz v. Durrani et al.,

Complaint, Hamilton County Common Pleas Case No. A1506861, Complaint, December 16,

2015 attached hereto as Exhibit E. Therefore, all the jurisdictional requirements of mass action

removal are met.


                                                  6
      Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 7 of 9 PAGEID #: 7




                     ALL REMOVAL PROCEDURES ARE SATISFIED

       Plaintiffs submitted to Judge Ruehlman the Binder proposing a joint trial of the claims of

more than 100 Plaintiffs on December 7, 2015. They e-mailed a copy of the Binder to

Defendants on that same date. Accordingly, this removal is timely, since it occurred “within 30

days after receipt by the defendant, through service or otherwise, of a copy of an amended

pleading, motion, order or other paper from which it [could] first be ascertained that the case is

one which is or has become removable.” See 28 U.S.C. § 1446(b)(3).

       All Defendants are consenting to the removal of this action.

       With respect to mass action jurisdiction, removal is not barred by the Ohio citizenship of

any Defendants. See id. § 1453(b).

        Copies of all process, pleadings, and orders served upon Defendants are attached hereto

as Exhibit F. See id. § 1446(a).

       Written notice of this removal is being provided to all adverse parties and is being filed

with the clerk of the Hamilton County Court of Common Pleas. See id. § 1446(d).

       Defendants hereby reserve their right to amend this notice of removal.

WHEREFORE, Defendants respectfully remove this action from the Common Pleas Court of

Hamilton County, in the State of Ohio, to this Court.




                                                 7
Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 8 of 9 PAGEID #: 8




                                 Respectfully submitted,

                                 FROST BROWN TODD LLC

                                 /s/ Bill J. Paliobeis
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                                    8
       Case: 1:16-cv-00165-SJD Doc #: 1 Filed: 01/06/16 Page: 9 of 9 PAGEID #: 9



                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of January, 2016, the foregoing was served pursuant

to Fed. R. Civ. P. 4 on Plaintiffs’ counsel:

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                                               /s/ Bill J. Paliobeis
                                               ________________________________________



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